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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.



          NOTICE OF MOTION FOR WITHDRAWAL OF APPEARANCE OF
                          LOURDES M. ROSADO


       PLEASE TAKE NOTICE that, upon the accompanying Declaration and pursuant to

Local Civil Rule 1.4, Lourdes M. Rosado respectfully moves this Court for permission to

withdraw her appearance in the above-captioned action on behalf of Plaintiff the State of New

York. PLEASE TAKE FURTHER NOTICE that attorneys Matthew Colangelo, Elena

Goldstein, and Ajay Saini of the New York State Office of the Attorney General will continue to

be counsel of record for Plaintiff the State of New York in this action.



DATED:         February 11, 2019
               New York, New York




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                                    Respectfully submitted,

                                    LETITIA JAMES
                                    Attorney General of the State of New York

                                    By: /s/ Lourdes M. Rosado
                                    Lourdes M. Rosado (LR-8143)
                                    Civil Rights Bureau Chief
                                    Office of the New York State Attorney General
                                    28 Liberty Street
                                    New York, NY 10005
                                    Phone: (212) 416-8252
                                    lourdes.rosado@ag.ny.gov


Service on all counsel by ECF




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

               v.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.



               DECLARATION OF LOURDES M. ROSADO IN SUPPORT OF
                   MOTION FOR WITHDRAWAL OF APPEARANCE


       I, Lourdes M. Rosado, declare under penalty of perjury that the following is true and

correct:

1. I submit this declaration in support of my motion seeking permission from the Court to

   withdraw my appearance in the above-captioned matter.

2. I am leaving the employment of the New York State Office of the Attorney General and,

   therefore, I will no longer be able to represent Plaintiff the State of New York in this matter.

3. Attorneys Matthew Colangelo, Elena Goldstein, and Ajay Saini in the New York State Office

   of the Attorney General will continue to be counsel of record for Plaintiff the State of New

   York in this action.




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DATED:        February 11, 2019
              New York, New York


                                    Respectfully submitted,

                                    LETITIA JAMES
                                    Attorney General of the State of New York

                                    By: /s/ Lourdes M. Rosado
                                    Lourdes M. Rosado (LR-8143)
                                    Civil Rights Bureau Chief
                                    Office of the New York State Attorney General
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Service on all counsel by ECF




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.



                [PROPOSED] ORDER TERMINATING APPEARANCE OF
                             LOURDES M. ROSADO


         WHEREAS, the Court has reviewed the motion of Lourdes M. Rosado seeking leave to

withdraw as an attorney of record in this matter, as well as her declaration in support thereof;

         IT IS HEREBY ORDERED THAT the appearance of Lourdes M. Rosado in this

matter is terminated;

         IT IS FURTHER ORDERED THAT the Clerk of Court shall remove Ms. Rosado from

the docket sheet in this matter.

         IT IS SO ORDERED.



Dated:         February __, 2019
               New York, New York


                                              _______________________________
                                              HON. JESSE M. FURMAN
                                              United States District Judge
